










Opinion issued February 17, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–03–01283–CV




ROBERT HAMM, Appellant

V.

BRIAN BARRAGY AND LISA MCFARLIN, Appellees




On Appeal from the County Civil Court at Law No. 4
Harris, County, Texas
Trial Court Cause No. 778358




MEMORANDUM OPINIONAppellant Robert Hamm has neither established indigence, nor paid or made
arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex. R. App.
P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing dismissal
of appeal if no clerk’s record filed due to appellant’s fault).  After being notified that
this appeal was subject to dismissal, appellant Robert Hamm did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Nuchia, and Hanks.


